      Case 4:23-cv-03756 Document 14 Filed on 01/24/24 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                January 25, 2024
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION

RANDY WILLIAM BRAST,                            §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:23-CV-03756
                                                §
MAHA PROPERTIES, LLC,                           §
                                                §
        Defendant.                              §
                                                §

                                            ORDER

       The parties in this case have filed a Joint Stipulation of Dismissal with Prejudice. ECF

No. 13. In accordance with that Stipulation and Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, Plaintiff’s claims against Defendant are hereby DISMISSED WITH PREJUDICE.

Each party is to bear its own costs, fees, and expenses. The Clerk is directed to CLOSE the case.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 24th day of January, 2024.




                                                    KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE
